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     Case 3:20-cr-00371-WHA Document 69-16 Filed 12/15/20 Page 2 of 5
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From:             Redfish
To:               "Permit"
Date:             Saturday, August 11, 2018 7:55:09 PM
Attachments:      20150713 Compensation Memo.doc


Bob,

I have taken advice on my resident tax position in the UK.

The legal position is quite clear. There are two possibilities right now. I am either a:

1.        a non-domiciled resident of the UK from April 5th, 2018 (the start of the UK tax year),
2.        a Bermuda resident until September, 2018 when the girls start their new school year. I then
“split” the tax year and thereafter become a non-domiciled resident.

My position is that I have remained a Bermuda resident, but that will change at the start of the new
school year in September. While the lawyer agrees with that position, to be on the safe side, I have
not taken any income since April 1st.

As a resident non-dom, I can reside in the UK and be liable to tax on income I have earned in the UK
or income earned anywhere in the world, which I have remitted to the UK.

If however, I remit capital, i.e. funds which I already possess, I am not subject to income tax on the
remittance.

The advice of the lawyer is to live off capital. He says I should have the capital as “clean funds”, i.e.
show that I had the money before I become a UK resident. This will help resist an argument that the
remittance is from income.

What I ask you to consider is the following:

1.        My current package was set in July 2015. Salary of $750,000, bonus potential of $850,000
and retirement allowance of $1,000,000. This is a total of $2,600,000. The memo of July 13, 2015 is
attached.
2.        We anticipate that Eloise and Poppy will be ready for boarding school when Poppy turns 11
years old: six years from now. After they go into boarding school, Sophie and I will return to
Bermuda as full time residents.
3.        Working on the assumption that I am still a full time Bermuda resident at this stage, I ask
that you allow me to receive the next six years of my package now – before I become a UK resident.
That is, I ask that you allow me to take $15,600,000 into my account now. Of course, if you
considered a salary/bonus increase appropriate, then this figure would be adjusted.
4.        These funds would be considered clean capital that I could remit to the UK as needed
without paying tax on the remittance.
5.        As a matter of practice, I would only have access to the annual salary in the year earned and
the bonus once you have declared it. The annual salary and bonus for subsequent years would not
be touched until that year or until you declare the bonus. The retirement allowance, of course, does
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not vest and would not be used at all except to be invested.

If you are in agreement with this proposal, I suggest the funds come from Point Investments and
through Spanish Steps. The bankers would readily accept that I am redeeming a share of the
investment in Point. That would take out any report to the UK HMRC. Right now the banks accept
me as a Bermuda resident.

There is a time pressure with this as I must have this clear before the start of September.

Evatt
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                                                                                              Exhibit A-82

                                                                                    SAFE DEPOSIT BOX INVENTORY


       ENVELOPE TITLE                                                                       CONTENTS
CODE           NAME                                                                         DOCUMENT                                                        ORIGINAL/COPY   OUT   RTB


         AEBCT          agre19811218 Stock Purchase Agreement Between RTB, Bermuda Trust Company and the AEBCT                                                   C
                        agre19870100 Draft Promissory Note Issued by the AEBCT to RTB re Loan                                                                    C
                        corp19980115 Written Resolutions of Boothferry Park Investments Ltd re Performance Bonus to President of US Subsidiaries                 C
                        corp19980115 Written Resolutions of Hunt Investments Ltd re Performance Bonus to President of US Subsidiaries                            C
                        corp19980115 Written Resolutions of Hurst Investments Ltd re Performance Bonus to President of US Subsidiaries                           C
                        corp19980115 Written Resolutions of Mullery Investments Ltd re Performance Bonus to President of US Subsidiaries                         C
                        corp19980115 Written Resolutions of Saracen Investments Ltd re Performance Bonus to President of US Subsidiaries                         C
                        corp19980115 Written resolutions of Spanish Steps Holdings Ltd re Performance Bonus to President of US Subsidiaries                      C
                        corr19810603 Letter from Carlos Kekpe to RTB re IRS Reporting Requirements for Trusts                                                    C
                        corr19810717 Letter from Carlos Kekpe to RTB re IRS Reporting Requirements for Trusts Attaching Forms                                    C
                        corr19810817 Letter from Al Thorpe to RTB Enclosing IRS Forms 3520 and 3520-A for the AEBCT                                              C
                        corr19820223 Letter from GH, Bank of Bermuda Ltd to DJ, UCS Inc re Trustee Agreement                                                     C
                        corr19820223 Letter from GH, Bank of Bermuda Ltd to RTB, Protector re Purchase of UCS Shares on Behalf of the AEBCT                      C
                        corr19840323 Handwritten Memo from Al Thorpe to Don Jones re Financial Information from the AEBCT and the AEBGCT                         C
                        corr19841011 Letter from GH, Bank of Bermuda Ltd to Don Jones re Acknolwedging Receipt of Dividend and Repaying Advance and Loans        C
                        corr19871105 Facsimile from Carlos Kekpe to Gordon Howard, Bermuda Trust Company re Stock Purchase Agreement                             C
                        corr19890509 Letter from Bermuda Trust Company Ltd to DJ, UCS Inc re Loan and Payment Schedule                                           C
                        corr19960220 Letter from IRS to Gordon Howard, St Johns re Failure to Lodge Tax Returns                                                  C
                        corr19961105 Letter from Robert Brockman to Miller & Chevalier Attorneys re Responses to IRS from Gordon Howard                          C
                        corr19970224 Facsimile from Don Jones to RTB Enclosing Documents Relating to Stock Transactions re Trust                                 C
                        corr19971126 Facsimile from Carlos Kepke to RTB re Affidavit of Trust Protector                                                          C
                        corr19980415 Facsimile from Baring Trustees to RTB re Deed of Removal Appointment and Indemnity                                          C
                        corr19980416 Facsimile from Carlos Kepke to RTB re Execution of Deed of Removal, Appointment and Indemnity                               C
                        corr19990115 Facsimile from Grosvenor Trust Company to RTB re Deed of Retirement and Appointment                                         C
                        corr19990210 Facsimile from Grosvenor Trust Company to Don Jones re Signed Minutes of Various BVI Companies re Performance Bonus         C
                        corr19990421 Facsimile from Carlos Kepke to Don Jones re Execution of Deed of Removal, Appointment and Indemnity in Belize               C
                        corr19990421 Facsimile from Carlos Kepke to RTB re Execution of Deed of Removal, Appointment and Indemnity in Belize                     C
                        corr19990709 Facsimile from Comtex Communications to Don JOnes re Jiltec Inventory                                                       C
                        corr19990709 Memorandum from Don Jones to RTB re Jiltec Inventory Numbers                                                                C
                        corr19990728 Letter from Bermuda Ministry of Finance to St John's re Request for Information                                             C
                        corr19990728 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                   C
                        corr19990729 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                   C
                        corr19990802 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                   C
                        corr19990803 Facsimile from Miller & Chevalier to RTB re Response to IRS Notice for Information                                          C
                        corr19990803 Facsimile from Miller & Chevalier to RTB re Response to IRS Notice for Information - 2nd Copy                               C
                        corr19990803 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                   C
                        corr19990803 Memorandum from RTB to Brook Voght, Miller & Chevalier re Progress on IRS Issue                                             C
                        corr19990803 Memorandum from RTB to Don Jones re Progress on IRS Issue                                                                   C
                        corr19990804 Facsimile from Miller & Chevalier to RTB re Response to IRS Notice for Information                                          C
                        corr19990806 Memorandum from RTB to Don Jones re Progress on IRS Issue                                                                   C
                        corr19990815 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                   C
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                        corr19990818 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                   C
                        corr19990823 Handwritten Memorandum from Don Jones to RTB re Progress on IRS Issue                                                       C
                                                                                       Exhibit A-82

               corr19990825 Facsimile from Carlos Kepe to Don Jones re IRS Notice and DocumentsRTB re Execution of Deed of Removal, Appointment and Indemnity in Bel   C
               corr19990825 Facsimile from Carlos Kepke to Don Jones re IRS Notice and Documents                                                                       C
               corr19990825 Letter from Bermuda Ministry of Finance to Bank of Bermuda re Request for Information                                                      C
               corr19990825 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                                  C
               corr19990825 Memorandum from Don Jones to RTB re Progress on IRS Issue - 2nd copy                                                                       C
               corr19990825 Memorandum from Don Jones to RTB re Progress on IRS Issue - 2nd Memo                                                                       C
               corr19990826 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                                  C
               corr19990826 Memorandum from Don Jones to RTB re Progress on IRS Issue - 2nd copy                                                                       C
               corr19990827 Facsimile from ET, Cox Hallett Wilkinson to Don Jones Enclosing Letter from the Bermuda Ministry of Finance                                C
               corr19990827 Letter from Bermuda Ministry of Finance to Cox Hallett Wilkinson re Request for Information Extension of Time                              C
               corr19990827 Memorandum from Don Jones to Carlos Kepke re Bland Partnership                                                                             C
               corr19990827 Memorandum from Don Jones to RTB re Facsimile to Carlos Kepke                                                                              C
               corr19990831 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                                  C
               corr19990901 Facsimile from Miller & Chevalier to RTB re Settlement of Issues with the IRS                                                              C
               corr19990907 Facsimile from ET, Cox Hallett Wilkinson to Don Jones Enclosing List of Documents Found During Review of Bank of Bermuda Documents         C
               corr19990909 Facsimile from ET, Cox Hallett Wilkinson to Don Jones Enclosing Draft Letter to the Bermuda Ministry of Finance                            C
               corr19990928 Letter from ET, Cox Hallett Wilkinson to Karen Pettifer, Grosvenor re Legal Opinion as to the Disclosure of Documents                      C
               corr19990929 Letter from Bermuda Ministry of Finance to ET, Cox Hallett Wilkinson re Request for Information                                            C
               corr19990929 Letter from ET, Cox Hallett Wilkinson to Bermuda Ministray of Finance re Response to Request for Information                               C
               corr19990929 Letter from ET, Cox Hallett Wilkinson to Grosvenor Trust Company Limited re Response to Request for Information                            C
               corr19991001 Memorandum from Don Jones to RTB re Progress on IRS Issue                                                                                  C
               corr19991013 Letter from Bermuda Ministry of Finance to ET, Cox Hallett Wilkinson re Request for Information                                            C
               corr19991019 Memorandum from Don Jones to RTB re Progress on IRS Issue including Attached Letter from the Ministry of Finance                           C
               corr20010915 Letter from RTB, UCS Inc to St John's Trust Company PVT Ltd re Merger of Operating Entities Including Merger Plan                          C
               corr20010921 Letter from St John's Trust Company PVT Ltd to RTB, UCS Inc re Merger of Operating Entities                                                C
               corr20010921 Letter from St John's Trust Company PVT Ltd to RTB, UCS Inc re Merger of Operating Entities - 2nd Copy                                     C
               misc19840808 Handwritten Note Setting Out Interest Payments on Texas Accounts                                                                           C
               misc19960220 Request for Information and Documents from IRS to Gordon Howard, St Johns                                                                  C
               misc19990728 Request for Information Under USA-Bermuda Tax Convention from Bermuda Ministry of Finance to St John's                                     C
               misc19990728 Request for Information Under USA-Bermuda Tax Convention from Bermuda Ministry of Finance to St John's - 2nd Copy                          C
               misc19990817 Royal Gazette Newspaper Article Relating to the USA - Bermuda Tax Convention Act                                                           C
               misc19990818 Initial List of Documents Created After Reviewing Files Held by the Bank of Bermuda Pertaining to the AEBCT and Related Companies          C
               misc19990825 Request for Information Under USA-Bermuda Tax Convention from Bermuda Ministry of Finance to Bank of Bermuda                               C
               misc19990907 List of Documents Created After Reviewing Files Held by the Bank of Bermuda Pertaining to the AEBCT and Related Companies                  C
               misc20020101 Detailed and Phased Plan of Merger of Operating Entities Including Merger Plan                                                             C
               trst19810824 IRS Form 3520 Creation of or Transfers to Certain Foreign Trusts re AEBCT Signed by A. Eugene Brockman                                     C
               trst19810824 IRS Form 3520 Creation of or Transfers to Certain Foreign Trusts re AEBCT Signed by A. Eugene Brockman - 2nd Copy                          C
               trst19810824 IRS Form 3520 Creation of or Transfers to Certain Foreign Trusts re AEBGCT Signed by A. Eugene Brockman                                    C
               trst19810824 IRS Form 3520 Creation of or Transfers to Certain Foreign Trusts re AEBGCT Signed by A. Eugene Brockman - 2nd Copy                         C
               trst19971029 AEBCT Deed of Removal, Appointment and Indemnity Partially Signed and Undated - 2nd Copy from RTB Files                                    C
               trst19971206 Affidavit of Protector, RTB re Amendment to the AEBCT and the AEBGCT Deeds                                                                 C
               trst19990316 AEBCT Deed of Variation of Trust Executed by Cititrust International Inc                                                                   C
               trst19990317 Order of the Supreme Court of Belize re Variation of the AEBCT Trust Deed                                                                  C
               trst20010402 AEBCT Minutes of Trustee's Meeting 2001 - From RTB Files                                                                                   C
               trst20010402 AEBCT Minutes of Trustee's Meeting 2001 - From RTB Files - 2nd Copy                                                                        C
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CARLOS KEPKE   agre19810119 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Fee Letter Agreement
                                                                                        Exhibit A-82

1981-1995      agre19901101 License Agreement Between Universal Computer Consulting inc and Plattoon Investments Ltd
               corp19820521 Universal Computer Services Inc Restated Articles of Incorporation
               corr19810119 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Opinion on the Establishment of Trusts and Corporations
               corr19810120 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Whether Assembly of Control Boxes in Cayman Could Impact US Operations
               corr19810217 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re List of Permitted and Prohibited Activities
               corr19810401 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Enclosing Invoice for Services
               corr19810401 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Letter from Cayman Islands Attorney
               corr19810603 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Settlement of the AEBCT and the AEBGCT and Necessary Actions
               corr19810717 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re IRS Forms Which Must be Filed on Creation of Brockman Trusts
               corr19810717 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re IRS Forms Which Must be Filed on Creation of Brockman Trusts - 2nd Copy
               corr19810801 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Enclosing Invoices for Payment
               corr19811228 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re CTL Corporate Documents
               corr19820113 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Tax Consequences of Sale of US Stock to the AEBCT
               corr19820118 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Universal Computer Terminals Ltd
               corr19820602 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Universal Computer Services Inc Restated Articles of Incorporation
               corr19830908 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Whether CTL Can Place Funds on Deposit in the US
               corr19830927 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re US Tax Court Decision in Hospital Corporation of America v IRS
               corr19851122 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Completion of IRS Form 5472
               corr19851126 Letter from Don Jones to Carlos Kepke re Whether IRS Form 5472 Should be Filed
               corr19860214 Letter from Carlos Kepke, Chamberlain, Hrdlicka to Don Jones re Possible Acquisition of Canadian Dealership Using Bermuda
               corr19861113 Letter from Carlos Kepke, Chamberlain, Hrdlicka to RTB re Effects of Tax Reform Act 1986 on CTL's Earnings
               corr19910827 Letter of Opinion from Pravel Gambell to Carlos Kepke re Royalties Under Netherlands US Income Tax Treaty
               corr19910828 Letter from Carlos Kepke to Don Jones re DBA Opinion Letter from Sue Shaper
               corr19910913 Letter from Carlos Kepke, Margraves & Schueler to RTB re Whether Certain Entities are Related Parties
               corr19910913 Letter from Carlos Kepke, Margraves & Schueler to RTB re Whether Certain Entities are Related Parties - 2nd Copy
               corr19910913 Letter from Carlos Kepke, Margraves & Schueler to RTB re Whether Certain Entities are Related Parties - 3rd Copy
               corr19910913 Memorandum from Carlos Kepke to RTB re Attribution Rules
               corr19911205 Letter from Carlos Kepke, Margraves & Schueler to Don Jones re Update on Netherlands Royalties Actions
               corr19911212 Letter from Carlos Kepke, Margraves & Schueler to Don Jones re Tax Consequences of Sale of Shares by CTL
               corr19920205 Letter from Carlos Kepke, Margraves & Schueler to RTB re Wealth Planning Transfer Planning Discussion Memorandum
               corr19930106 Letter from Carlos Kepke to Don Jones re re Exemption for Portfolio Interests
               corr19930120 Letter from Carlos Kepke to Don Jones re Issue of Bearer Debt Instruments in the US
               corr19930407 Letter from Carlos Kepke to Don Jones re Alternatives for Repaying Primary Offshore Loans for DCS Deal
               corr19930504 Letter from Carlos Kepke to RTB re Steps in Changing Ownership of TIL Shares
               corr19940607 Letter from Carlos Kepke to Don Jones re Revenue Rulings from the IRS
               corr19940714 Letter from Carlos Kepke to RTB re re Intelligent Network Concentrator
               corr19951027 Letter from Carlos Kepke to Don Jones re Distributions from Foreign Trusts to US Beneficiaries
               corr19951031 Letter from Don Jones to Carlos Kepke re Payment of Funds to Beneficiary of Foreign Trust
               corr19951206 Letter from Carlos Kepke to Don Jones re USA - Malta Tax Treaties
               corr19981229 Letter from Carlos Kepke to Don Jones re Passive Foreign Investment Taint on CTL
               misc19810216 Copy of Cheque Paid by RTB to Chamberlain Hrdlicka
               misc19810430 Copy of Cheque Paid by RTB to Chamberlain Hrdlicka
               misc19810717 Copy of Cheque Paid by RTB to Chamberlain Hrdlicka
               misc19811218 Copy of Cheque Paid by RTB to Chamberlain Hrdlicka
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CARLOS KEPKE   corr19911002 Letter from AllanTiller, Chamberlain, Hrdlicka to RTB re Anti-Conduit Rules Under Section 7701 IRS Code
1996-2005      corr19960221 Facsimile from Carlos Kepke to Don Jones re Roadmap for the Computer Parts Display Project
                                                                        Exhibit A-82

corr19960412 Letter from Carlos Kepke to RTB re Wishes Letter Addressed to Gordon Howard re Various Trusts
corr19960521 Letter from IRS to Al Thorpe Request from IRS for Meeting Following Poor Document Response
corr19960523 Letter from RTB to Carlos Kepke re Letter from the IRS to Al Thorpe
corr19960831 Letter from Carlos Kepke to RTB re Impact of the Small Business Act
corr19970304 Facsimile from Carlos Kepke to RTB re Ability of IRS to Break Through Information Exchange Treaties
corr19970331 Letter from Carlos Kepke to RTB re Issue of RTB Remaining a Protector of Foreign Trusts
corr19970424 Letter from Carlos Kepke to RTB re Opinion on IRS Treating Beneficiaries of Perfected Trusts as Owners of the Assets
corr19970506 Letter from Carlos Kepke to RTB re Wording on Change of Deed for Trust Protector
corr19970610 Letter from Carlos Kepke to RTB re Affidavit to Change Protector of the AEBCT and the AEBGCT
corr19970613 Letter from Carlos Kepke to RTB re Creation of Cloned Trusts
corr19970627 Letter from Carlos Kepke to RTB re Legislative Changes Before the Senate
corr19970725 Letter from Carlos Kepke to RTB re Appropriate Jurisdiction to Avoid US Tax Consequences
corr19970731 Letter from Carlos Kepke to RTB re Opinion on the Consequences on Taxation and Disclosure Under Small Business Act
corr19970807 Letter from Carlos Kepke to RTB re Opinion on Who is a US Person
corr19970827 Letter from Carlos Kepke to RTB re Appropriate Jurisdiction to Avoid US Tax Consequences
corr19980107 Letter from Levitz Zacks Ciceric to Carlos Kepke re the QSSS Election
corr19980210 Facsimile from Carlos Kepke to Don Jones re the Charges Made by Cititrust International for Trustee Work
corr19980210 Facsimile from Don Jones to Carlos Kepke re Belize Over Charging
corr19980210 Facsimile from Don Jones to RTB re Belize Over Charging
corr19980210 Letter from Carlos Kepke to RTB re Methods of Owning the Canadair Challenger
corr19980210 Letter from Don Jones to RTB re Belize Move
corr19980210 Letter from Glenn Godfrey to Carlos Kepke re Creation of Charitable Trust in Belize
corr19980216 Letter from Carlos Kepke to RTB re Hot Rod Project
corr19980616 Facsimile from Carlos Kepke to Don Jones re Tax Imposed Under Section 877 IRS Code
corr19980616 Facsimile from Don Jones to RTB re Carlos Kepke Opinion on Assets in a Discretionary Trust
corr19980806 Letter from Carlos Kepke to RTB re Financial Management of Trust Assets
corr19981018 Letter from RTB to Carlos Kepke re Meeting with Tax Advisors
corr19981019 Letter from RTB to Carlos Kepke re Insurance Company Structure
corr19981020 Draft Letter from RTB to Carlos Kepke re Insurance Company Structure
corr19990112 Letter from Carlos Kepke to RTB re Moving the AEBCT and the AEBGCT to Baring Trustees to make Changes
corr19990223 Letter of Opinion from Thompson & Knight to Carlos Kepke re Legal Professional Privilege
corr19990303 Letter of Opinion from Thompson & Knight to Carlos Kepke re Legal Professional Privilege
corr19990324 Letter of Opinion from Thompson & Knight to Carlos Kepke re Legal Professional Privilege
corr19990329 Letter from Carlos Kepke to Don Jones re Opinions on Attorney Client Privilege from Thompson and Knight
corr19990517 Memorandum of Opinion on Attorney Client Privilege Prepared by Allan Tiller, Chamberlain Hrdlicka for Carlos Kepke and Don Jones
corr19990525 Letter from Carlos Kepke to RTB re Emerging Technologies Investment Fund Ltd
corr19990529 Letter from Carlos Kepke to Don Jones re Opinions on Attorney Client Privilege and Further Opinion
corr19990607 Letter from Carlos Kepke to RTB re re Financial Advisor's Contract Between Carlos Kepke and Various Entities and Persons
corr19990608 Facsimile from Carlos Kepke to Don Jones re Providian Ltd and TIL Shares
corr19990707 Letter from Carlos Kepke to RTB re Structure of Emerging Technologies Ltd
corr19990812 Facsimile from Carlos Kepke to Don Jones re Review of Available Jurisdictions
corr19990819 Facsimile from Carlos Kepke to Don Jones re First Contacts With Andrew Keuls of ATU General Trust
corr19991006 Facsimile from Carlos Kepke to Don Jones re Using Belize for Setting Up Providian
corr20000119 Letter from Ernest Morrison, Cox Hallet Wilkinson to Carlos Kepke re Retention to Provide Advice for the AEBCT and RTB
corr20000119 Letter from Ernest Morrison, Cox Hallet Wilkinson to RTB re Appointment on Behalf of RTB
corr20000119 Letter from Ernest Morrison, Cox Hallet Wilkinson to St John's re Appointment on Behalf of the AEBCT
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corr20000120 Letter from Carlos Kepke to RTB re Responses to the IRS re Interests in TIL
corr20000322 Facsimile from Carlos Kepke to Don Jones re Special Powers of Appointment
                                                                          Exhibit A-82

corr20000323 Facsimile from Carlos Kepke to Don Jones re Cloning of the Aberdeen Trust and Ownership of Brooke Enterprises
corr20000901 Facsimile from Carlos Kepke to Don Jones re Responses on Issues Pertaining to Fees
corr20000901 Facsimile from Carlos Kepke to Don Jones re US Investors in Point Investments Ltd
corr20001020 Letter from Carlos Kepke to RTB re Tax Consequences of Merger of Companies into Spanish Steps Holdings Ltd
corr20011016 Letter from Carlos Kepke to RTB re Article on Section 679 of the IRS Code
corr20030728 Facsimile from Carlos Kepke to Don Jones re Termination of the Bland Partnership
corr20051104 Letter from Allan Tiller, Chamberlain, Hrdlicka to RTB re Special Testamentary Powers of Appointment
misc19981216 Affidavit Sworn by RTB as Protector of the AEBCT and Changes to the Trust Deed re Capitalisation
trst19970626 Letter from RTB, Protector to Gordon Howard, Chelsea Trust re Replacement of Protector for Endowment Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Chelsea Trust re Replacement of Protector for Service Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Gladestone Trust re Replacement of Protector for Philanthropic Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Gorry Trust re Replacement of Protector for the Benevolent Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Grosvenor Trust re Replacement of Protector for Maritime Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Grosvenor Trust re Replacement of Protector for the Worldwide Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Willow Trust re Replacement of Protector for Enterprise Charitable Trust
trst19970626 Letter from RTB, Protector to Gordon Howard, Willow Trust re Replacement of Protector for Lineage Charitable Trust
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